Case 06-01220-AJC

BANCO ESPIRITO SANTO
INTERNATIONAL, LTD.,

ESB FINANCE, LTD. and BANCO
ESPIRITO SANTO, S.A. (NASSAU
BRANCH),

Plaintiffs,

vs.

BDO SEIDMAN, LLP
Defendant,

 

 

Doc 230-2 Filed 09/16/08 Page 1 of 82

IN THE CIRCUIT COURT OF THE
11TH JUDICIAL CIRCUIT IN AND
FOR MIAMI-DADE COUNTY,
FLORIDA
GENERAL JURISDICTION 2s
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CASE NO.: 04-14009 CA 31 cs F yg
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GERTIFICATION ON LAST PASE

HARVEY RUVIN, CLERK
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 2 of 82

We, the jury, return the following verdict:
1. What is the total amount of punitive damages, if any, which you find, by

the greater weight of evidence, should be assessed against Defendant BDO Seidman?

$351,699, 343 . 00

If you elect not to assess punitive damages against Defendant BDO Seidman, you

should enter a zero (0) as the amount of damages, and sign and date the verdict form.

SO SAY WE ALL, this /4 day of Chagues VY _,2007

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STATE ‘OF FLORIDA,
IMEREBY CERTIFY that the fo
odiginal on file in hls etifee.

   

Deputy
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FLORIDA STANDARD
JURY INSTRUCTIONS
IN CIVIL CASES

 

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THE FLORIDA BAR

SUPREME COURT COMMITTEE
ON STANDARD JURY INSTRUCTIONS
IN CIVIL CASES

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PD
PUNITIVE DAMAGES

PDI Punitive Damages — Bifurcated Procedure

a. First stage of bifurcated punitive damages procedure
() Introduction
(2) Punitive damages generally
(a) Causes of action arising prior to October I,
1999
(b) Causes of action arising on or after October
I, 1999
(3) Direct liability for acts of managing agent, primary
owner, or certain others
(a) Causes of action arising prior to October 1,
1999
(b) Causes of action arising on or after October
I, 1999
(4) Vicarious liability for acts of employee or agent
(a) Causes of action arising prior to October 1,
1999
(b) Causes of action arising on or after October
1, 1999
b. Second stage of bifurcated punitive damages procedure
(D Opening instruction second stage
(2) Punitive damages — determination of amount
(a) Causes of action arising prior to October 1,
1999
(b) Causes of action arising on or after October
I, 1999
(3) Closing instruction second stage

 

 
 

 

 

PD2_ Punitive Damages — Non-Bifurcated Procedure

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a.

Punitive damages generally
@) Causes of action arising prior to October 1, 1999
(2) Causes of action arising on or after October 1, 1999

Direct liability for acts of managing agent, primary owner, or
certain others

(1) Causes of action arising prior to October 1, 1999
(2) Causes of action arising on or after October 1, 1999

Vicarious liability for acts of employee
(1) Causes of action arising prior to October 1, 1999
(2) Causes of action arising on or after October 1, 1999

Punitive damages — determination of amount
(D Causes of action arising prior to October 1, 1999
(2) Causes of action arising on or after October 1, 1999

 

 

 

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5 of 82
 

 

 

(PD 1, page 1)

PD
PUNITIVE DAMAGES

PD] Punitive Damages — Bifurcated Procedure:
a. First stage of bifurcated punitive damages procedure:

@ Introduction:

If you find for (claimant) and against defendant (name person or
entity whose conduct may warrant punitive damages), you should consider
whether, in addition to compensatory damages, punitive damages are
warranted in the circumstances of this case as punishment and as a
deterrent to others.

The trial of the punitive damages issue is divided into two stages.
In this first stage, you will decide whether the conduct of (name defendant
whose conduct may warrant punitive damages) is such that punitive damages
are warranted. If you decide that punitive damages are warranted, we will
proceed to the second stage during which the parties may present
additional evidence and argument on the issue of punitive damages. I will
then give you additional instructions, after which you will decide whether
in your discretion punitive damages will be assessed and, if so, the
amount.

(2) Punitive damages generally:
(a) Causes of action arising prior to October 1, 1999

Punitive damages are warranted if you find by clear and
convincing evidence that:

(1) ‘the conduct causing [loss] [injury] [or] [damage] to
(claimant) was so gross and flagrant as to show a reckless
disregard of human life or of the safety of persons
exposed to the effects of such conduct; or

 

 
 

 

 

 

(PD 1, page 2)

(2) the conduct showed such an entire lack of care that
the defendant must have been consciously indifferent to
the consequences; or

(3) the conduct showed such an entire lack of care that
the defendant must have wantonly or recklessly
disregarded the safety and welfare of the public; or

(4) the conduct showed such reckless indifference to
the rights of others as to be equivalent to an intentional
violation of those rights.

[You may determine that punitive damages are warranted against
one defendant and not the other[s} or against more than one defendant.]

“Clear and convincing evidence” differs from the “greater weight
of the evidence” in that it is more compelling and persuasive. “Greater
weight of the evidence” means the more persuasive and convincing force
and effect of the entire evidence in the case. In contrast, “clear and
convincing evidence” is evidence that is precise, explicit, lacking in
confusion, and of such weight that it produces a firm belief or conviction,
without hesitation, about the matter in issue.

(b) Causes of action arising on or after October 1,
1999

Punitive damages are warranted if you find by clear and
convincing evidence that (name person whose conduct may warrant punitive
damages) was personally guilty of intentional misconduct or gross
negligence. “Intentional misconduct” means that (name person whose
conduct may warrant punitive damages) had actual knowledge of the
wrongfulness of the conduct and the high probability that injury or
damage to (claimant) would result and, despite that knowledge,
intentionally pursued that course of conduct, resulting in injury or

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(PD 1, page 3)

damage. “Gross negligence” means that the conduct of (name person whose
conduct may warrant punitive damages) was so reckless or wanting in care
that it constituted a conscious disregard or indifference to the life, safety,
or rights of persons exposed to such conduct.

“Clear and convincing evidence” differs from the “greater weight
of the evidence” in that it is more compelling and persuasive. “Greater
weight of the evidence” means the more persuasive and convincing force
and effect of the entire evidence in the case. In contrast, “clear and
convincing evidence” is evidence that is precise, explicit, lacking in
confusion, and of such weight that it produces a firm belief or conviction,
without hesitation, about the matter in issue.

(3) Direct liability for acts of managing agent, primary owner,
or certain others:

(a) Causes of action arising prior to October I, 1999

If you find for (claimant) and against (defendant corporation or
partnership), and you find also that clear and convincing evidence shows
that the conduct of (name managing agent, primary owner, or other person
whose conduct may warrant punitive damages without proof of a superior's
fault) was a substantial cause of [loss] [injury) [or] {damage} to (claimant)
and that such conduct warrants punitive damages against [her] [him] in
accordance with the standards I have mentioned, then in your discretion
you may also determine that punitive damages are warranted against
(defendant corporation or partnership).

(b) Causes of action arising on or after October 1,
1999

If you find for (claimant) and against (defendant corporation or
partnership), and you find also that clear and convincing evidence shows
that (name managing agent, primary owner, or other person whose conduct
may warrant punitive damages without proof of a superior's fault) was
personally guilty of intentional misconduct or gross negligence which was

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(PD 1, page 4)

a substantial cause of [loss]{injury] [or] [damage] to (claimant) and that
such conduct warrants punitive damages against [her] [him] in
accordance with the standards I have mentioned, then in your discretion
you may also determine that punitive damages are warranted against
(defendant corporation or partnership). “Intentional misconduct” means that
(name person whose conduct may warrant punitive damages) had actual
knowledge of the wrongfulness of the conduct and the high probability
that injury or damage to (claimant) would result and, despite that
knowledge, intentionally pursued that course of conduct, resulting in
injury or damage. “Gross negligence” means that the conduct of (name
person whose conduct may warrant punitive damages) was so reckless or
wanting in care that it constituted a conscious disregard or indifference
to the life, safety, or rights of persons exposed to such conduct.

(4) Vicarious liability for acts of employee:
(a) Causes of action arising prior to October 1, 1999

If you find for (claimant) and against (defendant
employer/principal), and you find also that (name employee/agent) acted in
such a manner as to warrant punitive damages, then if the clear and
convincing evidence shows also that (defendant employer/principal) was
negligent and that such negligence contributed to (claimant's) [loss]
[injury] [or] [damage], you may determine that punitive damages are
warranted against (defendant employer/principal). If clear and convincing
evidence does not show such negligence by (defendant employer/principal)
independent of the conduct of (name employee/agent), punitive damages
are not warranted against (defendant employer/principal).

(b) Causes of action arising on or after October I,
1999

If you find for (claimant) and against (defendant employer/principal/
.corporation/ or other legal entity), and you find also that (name
employee/agent) was personally guilty of intentional misconduct or gross

7/01

 

 

9 of 82
 

 

 

(PD 1, page 5)

negligence which was a substantial cause of [loss] [injury] [or] [damage]
to (claimant) and that such conduct warrants punitive damages against
(name employee/agent), then in your discretion you may also determine
that punitive damages are warranted against (defendant employer/princi-
pal/corporation/or other legal entity) if you find that clear and convincing
evidence also shows that:

e (defendant employer/principal/corporation/or other legal
entity) actively and knowingly participated in such conduct
of (name employee/agent); or

e the [officers] [directors] [or] [managers] of (defendant
employer/principal/corporation/or other legal entity)
knowingly condoned, ratified, or consented to such conduct
of (name employee/agent); or

e (defendant employer/principal/corporation/or other legal
entity) engaged in conduct that constituted gross negligence
and that contributed to the [loss] [damage] [or] [injury]
suffered by (claimant).

“Intentional misconduct” means that (name person whose conduct
may warrant punitive damages) had actual knowledge of the wrongfulness
of the conduct and the high probability that injury or damage to (claimant)
would result and, despite that knowledge, intentionally pursued that
course of conduct, resulting in injury or damage. “Gross negligence”
means that the conduct of (name person whose conduct may warrant punitive
damages) was so reckless or wanting in care that it constituted a conscious

‘disregard or indifference to the life, safety, or rights of persons exposed
to such conduct,

 

 
 

 

 

(PD 1, page 6)
b. Second stage of bifurcated punitive damage procedure:

(1) Opening instruction second Stage:

The parties may now present additional evidence related to
whether punitive damages should be assessed and, if so, in what amount.
You should consider this additional evidence along with the evidence
already presented, and you should decide any disputed factual issues by
the greater weight of the evidence. “Greater weight of the evidence”
means the more persuasive and convincing force and effect of the entire
evidence in the case.”*

*The committee added the last sentence at its February 2004 meeting. It has not yet
been submitted to the court. The committee determined that the sentence should be
published pending its submission to and approval by the court.

(2) Punitive damages — determination of amount:

fa) Causes of action arising prior to October 1, 1999

You will now determine the amount of punitive damages, if any,
to be assessed as punishment and as a deterrent to others. This amount
would be in addition to the compensatory damages you have previously
awarded. In making this determination, you should consider the
following:

69) the nature, extent and degree of misconduct and
the related circumstances; [and]

[(2) [the] [each] defendant’s financial resources; and]*
*Refer to Note on Use 4

[(3) (identify any other circumstance that the jury may
consider in determining the amount of punitive damages. )]*

*Refer to Note on Use 10

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12 of 82

 

(PD 1, page 7)

[However, you may not award an amount that would financially
destroy (defendant).]*

 

*Refer to Note on Use 11

You may in your discretion decline to assess punitive damages.
[You may assess punitive damages against one defendant and not the
other[s] or against more than one defendant. Punitive damages may be
assessed against different defendants in different amounts.]

(b) Causes of action arising on or after October 1, 1999

You will now determine the amount of punitive damages, if any,
to be assessed as punishment and as a deterrent to others, This amount
would be in addition to the compensatory damages you have previously
awarded. In making this determination, you should consider the
following:

 

(1) ‘the nature, extent and degree of misconduct and
the related circumstances, including the following:

e whether the wrongful conduct was
motivated solely by unreasonable financial
gain;

 

e whether the unreasonably dangerous
nature of the conduct, together with the
high likelihood of injury resulting from the

 

conduct, was actually known by
[(defendant)] [(the managing agent, director,
officer, or other person responsible for
making policy decisions on behalf of the
defendant)};

  
 

 

 

 

(PD 1, page 8)

e whether, at the time of [loss] [injury] [or]
[damage], [(defendant)} [(the managing
agent, director, officer, or other person
responsible for making policy decisions on
behalf of the defendant)] had a specific
intent to harm (claimant) and the conduct
of {(defendant)] [(the Managing agent,
director, officer, or other person responsible
for making policy decisions on behalf of the
defendant)] did in fact harm (claimant),
[and]

[(2) [the] [each] defendant’s financial resources; and]*

*Refer to Note on Use 4

[3) (identify any other circumstance that the jury may
consider in determining the amount of punitive damages.)]*

*Refer to Note on Use 10

[However, you may not award an amount that would financially
destroy (defendant).]*

*Refer to Note on Use 11

You may in your discretion decline to assess punitive damages.
[You may assess punitive damages against one defendant and not the
other[s] or against more than one defendant. Punitive damages may be
assessed against different defendants in different amouats.]

(3) Closing instruction second stage:

Your verdict on the issues raised by the punitive damages claim
of (claimant) against (defendant) must be based on the evidence that has
been received during the trial of the first phase of this case and on the

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(PD 1, page 9)

evidence that has been received in these proceedings and the law on which
Ihave instructed you. In reaching your verdict, you are not to be swayed
from the performance of your duty by prejudice or sympathy for or

against any party.

Your verdict must be unanimous, that is, your verdict must be
agreed to by each of you.

You will be given a form of verdict, which I shall now read to you:

When you have agreed on your verdict, the foreman or fore-
woman, acting for the jury, should date and sign the verdict. You may
now retire to consider your verdict.

NOTES ON USE TO PD 1

1. Upon timely motion, a demand for punitive damages, and determi-
nation of the issues raised by such a demand, must be submitted to the jury under the
bifurcated procedure established in W.R. Grace & Co. v. Waters, 638 So.2d 502 (Fla.
1994). The instructions found under PD 1 are intended to comply with the required
bifurcated procedure. Absenta timely motion, punitive damage issues are to be decided
under a non-bifurcated procedure, with the instructions found under PD 2.

2. PD ta(1) and (2) are to be given in all cases. When the demand for
punitive damages is based on the doctrines of either vicarious or direct liability, see,
e.g., Schropp v. Crown Eurocars, Inc., 654 So.2d 1158 (Fla. 1995), PD 1a(1) and (2)
should be given first if the person whose conduct may warrant punitive damages is a
defendant from whom punitive damages are sought. That person should be named in
PD la(!) and (2) where indicated. Then PD Ja(3) or PD Ja(4) should be given in
reference to the direct or vicarious liability of a corporate or partnership defendant. If
the person whose conduct may warrant punitive damages is not a defendant, or
punitive damages are not sought from that person, the order and content of the charge
should be modified to give the substance of PD 1a(3) or PD 1a(4) first followed by PD
1a(1) and (2). In appropriate cases a corporate policy can provide the basis for punitive
damages against a corporation even though the particular officers or agents of the
corporation responsible for the policy are not discovered or identified. See, €.2.,
Schropp v. Crown Eurocars, Inc., 654 So.2d 1158 (Fla. 1995) (Wells, J., concurring).
In those cases PD 1a(3) will need to be modified accordingly.

3. PD la(2) and PD 1b(2) are designed for use in most common law tort
cases. However, certain types of intentional torts may require a punitive damage charge

2/04

 

 

14 of 82
 

 

 

 

(PD 1, page 10)

appropriate to the particular tort. See, e.g., First Interstate Development Corp. v.
Ablanedo, 511 So.2d 536 (Fla. 1987); Metropolitan Life Ins. Co. v. MeCarson, 467
So.2d 277 (Fla. 1985). The same may be true where punitive damages are authorized
by statute. See, e.g., Home Insurance Co. v. Owens, 573 So.2d 343, 346 (Fla. 4th DCA
1990).

4. Subparagraph (2) in PD 1b(2) should only be used when evidence of
a defendant’s financial worth is introduced.

5. PD 1a(3) should be used when direct liability for punitive damages
is based on the acts of a managing agent, primary owner, or another whose acts may
be deemed the acts of the defendant. See Schropp v. Crown Eurocars, Inc. , 654 So.2d
1158 (Fla. 1995); Bankers Multiple Line Ins. Co. v. Farish, 464 So.2d 530 (Fla. 1985);
Winn Dixie Stores, Inc. v. Robinson, 472 So.2d 722, 724 (Fla. 1985); and Taylor vy.
Gunter Trucking Co., Inc., 520 So.2d 624 (Fla. Ist DCA 1988).

6. PD 1a(4) should be used in other cases, where a defendant’s vicarious
liability for punitive damages requires additional proof of “some [independent] fault”
by the principal. See Mercury Motors Express, Inc. v. Smith, 393 So.2d 545, 548-49
(Fla. 1981).

7. PD 1b(1) is to be given as the preliminary instruction in the second
stage of a bifurcated trial. PD 1b(2) and (3) are to be given after presentation of
evidence and closing argument in the second stage. If PD 1a(3) or (4) has previously
been given in the first stage of the trial, the trial judge may elect to repeat, with
modifications as necessary, portions of PD 1a(3) or (4) for the sake of clarity.

8. Depending upon the length of time between the first and second
stages, the trial court may wish to precede these instructions with general instructions
2.1, 2.2, and 3.9,

9. The purpose of the instructions is not to allow parties to relitigate in
the second stage of the bifurcated proceeding, by new evidence or by argument, the
underlying question decided in the first stage of the proceeding of whether an award
of punitive damages is warranted. Rather, the purpose of the instructions is to advise
the jury that in the second stage of the proceeding, evidence may be presented and
argued which will allow the jury in its discretion to determine the amount of an award
of punitive damages, and that the amount which the jury determines appropriate could
be zero.

10. Subparagraph (3) should be used only after the court has determined
that the evidence includes some additional circumstance that may affect the amount of
punitive damages. See, e.g., Owens-Corning Fiberglass Corp. v. Ballard, 749 So.2d
483 (Fla. 1999) (listing various such factors). See generally BMW of North America,
Inc. v. Gore, 517 U.S. 559 (1996). One such circumstance is the assessment of punitive

 

 
 

 

 

(PD |, page 11)

damages against the defendant in prior cases. See W.R. Grace & Co. v. Waters, 638
So.2d 502 (Fla. 1994).

11. This instruction is to be given when requested by the defendant. See
Wransky v. Dalfo, 801 So.2d 239 (Fla. 4th DCA 2001). It appears that this instruction
can only be used when evidence of the defendant’s net worth has been introduced. See
Bould v. Touchette, 349 So.2d 1181 (Fla. 1977); Rinaldi v. Aaron, 314 So.2d 762 (Fla.
1975). This instruction is not intended to supplant the court’s function in determining
whether a verdict is constitutional. See BMW of North America v. Gore, 517 U.S. 559,
116 S.Ct. 1589 (1996); Pacific Mutual Life Ins. Co. v. Haslip, 499 U.S. 1, 111 S.Ct.
1032, 113 L.Ed.2d 1 (1991). The Committee notes that many reported decisions have
used alternative terms such as “bankrupt” or “economical ly castigate” to describe this
limitation, instead of or in addition to the term “financially destroy.” See, e.g., Lehman
v. Spencer Ladd’s Inc., 182 So.2d 402 (Fla. 1966); Wackenhut Corp. v. Canty, 359
So.2d 430 (Fla. 1978). The Committee has selected the term “ inancially destroy” for
its simplicity, but does not intend to foreclose the use of other legally valid terms where
appropriate under the facts of the particular case.

COMMENT

PD 1a(4) is based on Schropp v. Crown Eurocars, Inc., 654 So.2d 1158 (Fla.
1995). There may be situations other than employer-employee relationships where
vicarious liability for punitive damages may be imposed. See, e.g., Knepper v. Genstar
Corp., 537 So.2d 619 (Fla. 3d DCA 1988) (joint venture); Soden v. Starkman, 218
So.2d 763 (Fla. 3d DCA 1969) (partnership).

 

 
 

 

 

 

(PD 2, page 1)
PD2 Punitive Damages — Non-Bifurcated Procedure:

a. Punitive damages generally:

If you find for (claimant) and against defendant (name person or
entity whose conduct may warrant punitive damages), you should consider
whether, in addition to compensatory damages, punitive damages are
warranted in the circumstances of this case as punishment and as a
deterrent to others.

(D Causes of action arising prior to October 1, 1999

Punitive damages are warranted if you find by clear and
convincing evidence that:

(1) the conduct causing [loss] [in jury) [or) [damage] to
(claimant) was so gross and flagrant as to show a reckless
disregard of human life or of the safety of persons
exposed to the effects of such conduct; or

(2) the conduct showed such an entire lack of care that
the defendant must have been consciously indifferent to
the consequences; or

(3). the conduct showed such an entire lack of care that
the defendant must have wantonly or recklessly
disregarded the safety and welfare of the public; or

(4) the conduct showed such reckless indifference to
the rights of others as to be equivalent to an intentional

violation of those rights.

[You may determine that punitive damages are warranted against
one defendant and not the other[s] or against more than one Gefendant.]

“Clear and convincing evidence” differs from the “greater weight
of the evidence” in that it is more compelling and persuasive. “Greater

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17 of 82

 
 

 

 

 

(PD 2, page 2)

weight of the evidence” means the more persuasive and convincing force
and effect of the entire evidence in the case. In contrast, “clear and
convincing evidence” is evidence that is precise, explicit, lacking in
confusion, and of such weight that it produces a firm belief or conviction,
without hesitation, about the matter in issue.

(2) Causes of action arising on or after October 1, 1999

Punitive damages are warranted if you find by clear and
convincing evidence that (name person whose conduct may warrant punitive
damages) was personally guilty of intentional misconduct or gross
negligence. “Intentional misconduct” means that (name person whose
conduct may warrant punitive damages) had actual knowledge of the
wrongfuiness of the conduct and the high probability that injury or
damage to (claimant) would result and, despite that knowledge,
intentionally pursued that course of conduct, resulting in injury or
damage. “Gross negligence” means that the conduct of (name person whose
conduct may warrant punitive damages) was so reckless or wanting in care
that it constituted a conscious disregard or indifference to the life, safety,
or rights of persons exposed to such conduct.

“Clear and convincing evidence” differs from the “greater weight
of the evidence” in that it is more compelling and persuasive. “Greater
weight of the evidence” means the more persuasive and convincing force
and effect of the entire evidence in the case. In contrast, “clear and
convincing evidence” is evidence that is precise, explicit, lacking in
confusion, and of such weight that it produces a firm belief or conviction,
without hesitation, about the matter in issue.

b. Direct liability for acts of managing agent, primary owner, or certain
others:
() Causes of action arising prior to October 1, 1999

If you find for (claimant) and against (defendant corporation or
partnership), and you find also that clear and convincing evidence shows
that the conduct of (name managing agent, primary owner, or other person
whose conduct may warrant punitive damages without proof of a superior’s

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(PD 2, page 3)

fault) was a substantial cause of [loss] [injury] [or] [damage] to (claimant)
and that such conduct warrants punitive damages against [her] [him] in
accordance with the standards I have mentioned, then in your discretion
you may also determine that punitive damages are warranted against
(defendant corporation or partnership).

(2) Causes of action arising on or after October 1, 1999

If you find for (claimant) and against (defendant corporation or
partnership), and you find also that the clear and convincing evidence
shows that (name managing agent, primary owner, or other person whose
conduct may warrant punitive damages without proof ofa superior's fault) was
personally guilty of intentional misconduct or gross negligence which was
a substantial cause of floss] [injury] [or] [damage] to (claimant) and that
such conduct warrants punitive damages against [her] [him] in
accordance with the standards I have mentioned, then in-your discretion
you may also determine that punitive damages are warranted against
(defendant corporation or partnership). “Intentional misconduct” means that
(name person whose conduct may warrant punitive damages) had actual
knowledge of the wrongfulness of the conduct and the high probability
that injury or damage to (claimant) would result and, despite that
knowledge, intentionally pursued that course of conduct, resulting in
injury or damage. “Gross negligence” means that the conduct of (name
person whose conduct may warrant punitive damages) was so reckless or
wanting in care that it constituted a conscious disregard or indifference
to the life, safety, or rights of persons exposed to such conduct.

c. Vicarious liability for acts of employee or agent:

()) Causes of action arising prior to October 1, 1999

If you find for (claimant) and against (defendant
employer/principal), and you find also that (name employee/agent) acted in
such a manner as to warrant punitive damages, then if clear and
convincing evidence shows also that (defendant employer/principal) was
negligent and that such negligence contributed to (claimant's) [loss]
{injury} [or] [damage], you may determine that punitive damages are also

7/01

 

 

19 of 82
 

 

 

 

(PD 2, page 4)

warranted against (defendant employer/principal). If clear and convincing
evidence does not show such negligence by (defendant employer/principal)
independent of the conduct of (name employee/agent), punitive damages
are not warranted against (defendant employer/principal).

(2) Causes of action arising on or after October 1, 1999

If you find for (claimant) and against (defendant employer/princi-
pal/corporation/or other legal entity), and you find also that (name
employee/agent) was personally guilty of intentional misconduct or gross
negligence which was a substantial cause of [loss] [injury] [or] [damage]
to (claimant) and that such conduct warrants punitive damages against
(name employee/agent), then in your discretion you may also determine
that punitive damages are warranted against (defendant
employer/principal/corporation/or other legal entity) if you find that clear
and convincing evidence also shows that:

e (defendant employer/principal/corporation/or other legal
entity) actively and knowingly participated in such conduct
of (name employee/agent); or

e the [officers] [directors] [or] [managers] of (defendant
employer/principal/corporation/or other legal entity)
knowingly condoned, ratified, or consented to such conduct
of (name employee/agent); or

e (defendant employer/principal/corporation/or other legal
entity) engaged in conduct that constituted gross negligence
and that contributed to the [loss] [damage] {or} [injury]
suffered by (claimant).

“Intentional misconduct” means that (name person whose conduct
may warrant punitive damages) had actual knowledge of the wrongfulness
of the conduct and the high probability that injury or damage to (claimant)
would result and, despite that knowledge, intentionally pursued that
course of conduct, resulting in injury or damage. “Gross negligence”

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(PD 2, page 5)

means that the conduct of (name person whose conduct may warrant punitive
damages) was so reckless or wanting in care that it constituted a conscious
disregard or indifference to the life, safety, or rights of persons exposed
to such conduct.

d. Punitive damages — determination of amount:

(D) Causes of action arising prior to October 1, 1999

In determining the amount of punitive damages, if any, to be
assessed as punishment and as a deterrent to others, you should decide
any disputed factual issues by the greater weight of the evidence. “Greater
weight of the evidence” means the more persuasive and convincing force
and effect of the entire evidence in the case. You should consider the
following:

(1) the nature, extent and degree of misconduct and

the related circumstances;

[(2) [the] [each] defendant’s financial resources; and]*
*Refer to Note On Use 3

[(3) (identify any other circumstance that the jury may
consider in determining the amount of punitive damages.)]*

*Refer to Note On Use 7

{However, you may not award an amount that would financially
destroy (defendant).]*

*Refer to Note on Use 8
Any punitive damages you assess would be in addition to any
compensatory damages you award. You may in your discretion decline to

assess punitive damages. [You may assess punitive damages against one
defendant and not the other[s] or against more than one defendant.

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21 of 82

 
22 of 82

 

(PD 2, page 6)

Punitive damages may be assessed against different defendants in
different amounts.]

 

(2) Causes of action arising on or after October 1, 1999

In determining the amount of punitive damages, if any, to be
assessed as punishment and as a deterrent to others, you should decide
any disputed factual issues by the greater weight of the evidence. “Greater
weight of the evidence” means the more persuasive and convincing force
and effect of the entire evidence in the case. You should consider the
following:

(1) the nature, extent and degree of misconduct and
the related circumstances, including the following:

e whether the wrongful conduct was
motivated solely by unreasonable financial
gain;

 

e whether the unreasonably dangerous
nature of the conduct, together with the
high likelihood of injury resulting from the
conduct, was actually known by
[(defendant)] [(the managing agent, director,
officer, or other person responsible for
making policy decisions on behalf of the
defendant)];

® whether, at the time of [loss] {injury] [or]
[damage], [(defendant)] [(the managing
agent, director, officer, or other person
responsible for making policy decisions on
behalf of the defendant)] had a specific
intent to harm (claimant) and the conduct
of [(defendant)] [(the managing agent,

 

 

 
 

(PD 2, page 7)

director, officer, or other person responsible for making policy decisions on
behalf of the defendant)] did in fact harm (claimant), [and]

 

[(2) [the] [each] defendant’s financial resources; and]*
*Refer to Note on Use 3

[(3) (identify any other circumstance that the jury may
consider in determining the amount of punitive damages. )]*

*Refer to Note on Use 7

[However, you may not award an amount that would financially
destroy (defendant).]}*

*Refer to Note on Use 8

Any punitive damages you assess would be in addition to any
compensatory damages you award. You may in your discretion decline to

 

assess punitive damages. [You may assess punitive damages against one
defendant and not the other{s] or against more than one defendant.
Punitive damages may be assessed against different defendants in
different amounts.]

NOTES ON USE TO PD 2

L. When the demand for punitive damages is based on the doctrines of
either vicarious or direct liability, see, e.g., Schropp v. Crown Eurocars, Inc., 654
So.2d 1158 (Fla. 1995), PD 2a should be given first if the person whose conduct may
warrant punitive damages is a defendant from whom punitive damages are sought. That
person should be named in PD 2a where indicated. Then PD 2b or 2c should be given
in reference to the direct or vicarious liability of a corporate or partnership defendant.
If the person whose conduct may warrant punitive damages is not a defendant, or
punitive damages are not sought from that person, the order and content of the charge
should be modified to give the substance of PD 2b or PD 2c first followed by PD 2a.
In appropriate cases a corporate policy can provide the basis for punitive damages
against a corporation even though the particular officers or agents of the corporation
responsible for the policy are not discovered or identified. See, e. g., Schropp v. Crown
Eurocars, Inc., 654 So.2d 1158 (Fla. 1995) (Wells, J., concurring). In those cases, PD
2b will need to be modified accordingly.

 

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(PD 2, page 8)

2. PD 2a is designed for use in most common law tort cases. However,
certain types of intentional torts may require a punitive damage charge appropriate to
the particular tort. See, e.g., First Interstate Development C orp. v. Ablanedo, 511 So.2d
536 (Fla. 1987); Metropolitan Life Ins. Co. v. McCarson, 467 So.2d 277 (Fla. 1985).
The same may be true where punitive damages are authorized by statute. See, e.g.,
Home Insurance Co. v. Owens, 573 So.2d 343, 346 (Fla. 4th DCA 1991).

3. Subparagraph (2) in PD 2d should only be used when evidence of a
defendant’s financial worth is introduced.

4. PD 2b should be used when direct liability for punitive damages is
based on the acts of a managing agent, primary owner, or another whose acts may be
deemed the acts of the defendant. See Schropp v. Crown Eurocars, Inc., 654 So.2d
1158 (Fla. 1995); Bankers Multiple Line Ins. Co. v. Farish, 464 So.2d 530 (Fla. 1985);
Winn Dixie Stores, Inc. v. Robinson, 472 So.2d 722, 724 (Fla. 1985); Taylor v. Gunter
Trucking Co., Inc., 520 So0.2d 624 (Fla. Ist DCA 1988).

5. PD 2c should be used in other cases, where a defendant’s vicarious
liability for punitive damages requires additional proof of “some independent fault”
by the principal. See Mercury Motors Express, Inc. v. Smith, 393 So.2d 545, 548-49
(Fla. 1981).

6. PD 2d should be given after the last of instructions PD 2a, 2b, or 2c
that is given.

7. Subparagraph (3) should be used only after the court has determined
that the evidence includes some additional circumstance that may affect the amount of
punitive damages. See, e.g., Owens-Corning F. iberglass Corp. v. Ballard, 749 So.2d
483 (Fla. 1999) (listing various such factors). See generally BMW of North America,
Inc. v. Gore, 517 U.S. 559 (1996). One such circumstance is the assessment of punitive
damages against the defendant in prior cases. See W.R. Grace & Co. y. Waters, 638
So.2d 502 (Fla.1994).

8. This instruction is to be given when requested by the defendant. See
Wransky v. Dalfo, 801 So.2d 239 (Fla. 4th DCA 2001 ). It appears that this instruction
can only be used when evidence of the defendant’s net worth has been introduced. See
Bould v. Touchette, 349 So.2d 1181 (Fla. 1977); Rinaldi v. Aaron, 314 So.2d 762 (Fla.
1975). This instruction is not intended to supplant the court’s function in determining
whether a verdict is constitutional. See BUW of North America v, Gore, 517 U.S. 559,
116 S.Ct. 1589 (1996); Pacific Mutual Life Ins. Co. v. Haslip, 499 U.S. 1,111 S.Ct.
1032, 113 L.Ed.2d 1 (1991). The Committee notes that many reported decisions have
used alternative terms such as “bankrupt” or “economical ly castigate” to describe this
limitation, instead of or in addition to the term “financially destroy.” See, e.g., Lehman
v. Spencer Ladd’s Inc., 182 So.2d 402 (Fla. 1966); Wackenhut Corp. v. Canty, 359
So.2d 430 (Fla. 1978). The Committee has selected the term “financially destroy” for
its simplicity, but does not intend to foreclose the use of other legally valid terms where
appropriate under the facts of the particular case.

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(PD 2, page 9)

COMMENT

PD 2c is based on Schropp v. Crown Eurocars, Inc., 654 So.2d 1158 (Fla.
1995). There may be situations other than employer-employee relationships where
vicarious liability for punitive damages may be imposed. See, e. &., Knepper v. Genstar
Corp., 537 So.2d 619 (Fla. 3d DCA 1988) (joint venture); Soden v. Starkman, 218
So.2d 763 (Fla. 3d DCA 1969) (partnership).

 

25 of 82

 
Case 06-01220-AJC Doc 230-2. Filed 09/16/08 Page 26 of 82

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E. S. Bankest L.L.C.

Financial Statements

For the period from March 18, 1998 (inception)
through December 31, 4898

 

Plaintiffs’ Exh. No. 74

Filed: January 16 A.D. 2007
Case No. 04-14009 CA 31
Harvey Ruvin, Clerk of Courts

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 27 of 82

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Financial Statements
For the period from March 18, 1998 (Inception)
through December 31, 1998

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 28 of 82

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independent Auditors’ Report

Board of Directors
ES. Benkest L.L.C.

We have audited the accompanying balance sheet of E.S. Bankest L.L.C., as of December
31, 1998, and the related statements of operations, members’ equity and cash flows for the
period from March 18, 1998 (inception) through December 33, 1998. These financial
statements are the responsibility of the Company's management. Our responsibility is to
express an opinion on these financial statements based on our audit.

We conducted our audit in accordance with generally accepted auditing standards. Those
standards require that wo plan and perform the audit to obtain reasonable assurance about
whether the financial statements are free of material misstatement. An audit includes
examining, on a test basis, evidence supporting the amounts and disclosures in the
financial statements. An audit also includes assessing the accounting principles used and
significant estimates made by management, as well as evaluating the overall. financial
statement presentation. We believe that our audit provides a reasonable basis for our
opinion.

In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of E.S. Bankest L.L.C. as of December 31, 1998 and the
results of its operations and its cash flows for the period from March 18, 1998 (inception)
through December 31, 1998 in conformity with generally accepted accounting principles.

BD CSeidmen Lh P

Miami, Florida Certified Public Accopntants
February 26, 1999

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Filed 09/16/08 Page 29 of 82

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December 3J,

Assets

Cash and cash equivalents (Note 1)

1998

3 2,603,238

Accounts receivable, less allowance for doubtful

 

accounts af $83,000 (Notes | and 3) _ 40,638,879
Prepaid expenses 40,430
Debt issuance costs 77,333
Furniture and equipment, net of accumulated depreciation of $1,220 23,174
Other assets 21,492

$ 43,904,546

 

Liabilities

Promissory notes (Note 1)

$ 34,350,000

 

 

 

 

Due to affiliates (Note 3) 3,654,930
Acenied interest payable $16,424
Accounts payable and accrued liabilities 34,284
Uneamed factoring fees 389,791
Income tax payable 263,100
Total liabilities 39,208,579
Members’ Equity
Jnitial capitalization 3,000,000
Retained earnings 1,205,967
Total members’ equity 4,295,967 .
$ 43,504,546. ,

 

 

See accompanying summary of accounting policies
and noles to financial statements.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 30 of 82

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Statement of Opal

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Period from March 18, 1998 (inception) through December 31, 1998
Revenues:

Interest and fee income $ 4,147,147
Expenses:

General and administrative . 1,1.16,018

Interest 1,000,589

Provision for credit losses $59,666

Commissions 317,667

Professional fees 37,249
Total expenses 2,451,180
Income before provision for income taxes 1,405,967
Pravision for income taxes 400,000
Net income $ 1,265,967

See accompanying summary of accounting policies and notes to financial statements.

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Case 06-01220-AJC — Doc 230-2 Filed 09/16/08 Page 31 of 82

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Statement of Membe:

 

 

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Jnitial Retained Members

Capitalisation Earnings Equity

Initiat capitalization S$ 3,000,000 $ - $ 3,000,000
Net income - 1.295,967 1,295,967
Balance at December 31, 1998 $ 3.000.000 $ 1,295,967 $ 4,295,967

 

See accompanying summary of accounting policies and notes to financial stotements.

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Statement of Cag

Filed 09/16/08 Page 32 of 82

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Period from March 18, 1998 (inceprion) through December 31, 1998
Operating Activities:
Net income $ 1,295,967
Adjustments to reconcile net income to net cash
provided by operating activities:
Depreciation 1,220
Proviston for doubtful accounts 82,576
Changes in operating assets and liabilitios:
(Incroase) decrease in:
Propaid expenses 440,430)
Other assets 423,492)
Increase (decrease) in:
Duo to affiliates 3,654,980
Accounts payable and accrued expenses 34,284
Uneamed factoring fees 389,791
Tucome tax payable 263,100
Net cash provided by operating activities 5,659,996
Investing Activities:
Capital expenditures ¢24,394)
Accounts receivable (40,721,455)
Net cash used in investing activities (40,745,849)
Financing Activities:
Proceeds from issuance of promissory notes 39,275,000
Repayment of promissory notes (4,925,000)
Debt issuance costs (177,333)
Acensed interest on promissory notes $46,424
Mombers’ contribution 3,000,000
Net cash provided by financing activities 37,689,091
Net increase in cash and cash equivalents 2,603,238
Cash and cash equivalents at beginning of period ~
Cash and cash equivalents at end of period $ 2,603,238
Supplemental disctosure of cash flow information:
Cash paid during the year for interest $ 3,080,580

 

See accompanying summary of wccnunting polletes end notes to finunciul siagements.

 

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 33 of 82

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Organization

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E. S. Bankes i i ran

  

Summary of Significant Accountingi ie

E. S. Bankest Corp, was organized on March 18, 1998 under the
laws of the State of Florida. The Company was established. for the
purpose of engaging in the operation of a non-regulated

. commercial factoring business, principally by acquiring from

Bankest Capital Corp. (BCC) and Bankest Receivables Finance
and Factoring Corp. (BRFFC), a joint owner and wholly-owned
subsidiary of BCC, respectively, a partion of accounts receivable
acquired by BCC and BRFFC pursuant to their factoring
businesses.

As part of transactions incident to the formation of the Company,
the Company has entered Into an Accounts Receivable Purchase
and Tri-Party Agreement (the “AR Purchase Agreement’) with
BCC and BRFFC, pursuant to which the Company has agyeed to
purchase certain assets from BCC and BRFFC. Those assets
include variaus accounts receivable acquired by BCC and BRFFC
pursuant to their factoring and finance business. The Company
also agreed to acquire certain rights, and assume certain
obligations, under various factoring agreements presently existing
between BCC and/or BRFFC and their respective clients. The
Company used the proceeds derived from the issuance of
Promissory Notes to finance the purchase of the foregoing assets
and to fund the purchase of additional Insured Ac¢ounts
Receivable and to make advances in the operation of its
commercial factoring business.

On October 26, 1998, the Company's stockholders agreed to
merge the Company with and into Lacroze, LLC (a Florida
Limited Liability Company) the surviving company change its
name to B.S. Bankest LLC (Florida Limited Liability Company).
This surviving entity succeeded to all. of the rights, priviloges,
immunities and franchises and all of the property of E.S, Bankest
Corp. and js responsible and liable for all of E.S. Bankest Corp.
fiabilitics and obligations.

The merger was accounted for in a manner similar to a pooling of
interest since both companies are under common control. The
common stock of E.S, Bankest Corp. were converted into units of
E.S, Bankest L.L.C.

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Accounts
Receivable
Purchased and
Cencentration of
Credit Risk

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E. S. Bankesta

The accompanying financial statements include the results of
operations since the March 18, 1998 formation of E.S. Hankest
Corp.

Accounts receivable purchased from BCC and BRFFC have
principally been originated by small to medium sized companies in
the South Florida geographic area. The Company generally
withholds payment on a specified percentage of the purchased
receivables and obtains credit insurance to reduce a portion of its
credit risk. If third parties fail to honor their obligations under the
purchased receivable, the Company's loss is reduced by any
withheld payments and credit insurance. The Company performs
ongoing credit evaluations of its significant customers.

The Company's major client is a manufacturer of consumer goods.
At December 31, 1998, approximately 59% of the receivables
purchased were concentrated with that one client. Although the
Company is directly affected by the well being of this client,
management does not believe significant credit risk exists at
December 31, 1998 as the collectibility of the receivables is
insured against insolvency and the receivables are substantially
due from large corporations. Should the Company, not be able to
acquire receivables from this major client, for any reason, there
may be materially adverse effects on the Company's operations.

The allowance for credit losses is maintained at a level deemed
adequate by management to absorb losses in the portfolio after
evaluating the portfolio, current economic conditions, insurance
coverage, changes in the nature and the volume of the portfolio,
past loss experience and other pertinent faciors. Many of these
factors involve a significant degree of estimation and are subject to
rapid change which may be unforeseen by management. It is
reasonably possible that changes in these factors could result in
material adjustments to the allowance in the near term. During the
period ended December 31, 1998, the Company has had no
significant charge-offs.

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Summary of Significant AccountingaR Enea

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 35 of 82

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Cash and Cash
Equivalents

Income
Recognition

Furniture and
Equipntent

Income Taxes

Use of Estimates
in the Preparatian
of Finsacial
Statements

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Summary of Significant Accountingme

The Company considers investments with original maturities of
three months or less at the time of purchase to be cash equivalents.
At times, cash balances in the Company's account may exceed
federally insured limits.

Interest income on advances and other amounts owed to the
Company is calculated wsing the simple interest method on the
daily balances of principal outstanding and is recorded as earned in
accordance with the terms of the related factoring agreements with
clients. Factoring fees are recognized over the period that the
Company renders the related services.

Furniture and equipment are recorded at cost. Depreciation is
calculated on the straight-line basis over the estimated usefil} lives
of the assets, (3-5 years).

Income taxes are provided for in the accompanying financial
statements for the period from March 18, 1998 (inception) through
October 25, 1998 during which the Company was a taxable entity.
Effective upon the October 26, 1998 merger into Lacroze, LLC,
the Company’s operations are taxable directly ta the members and
accordingly, no provision for income taxes is included in the
accompanying financial statements for periods subsequent to
October 25, 1998.

The preparation of the financial statements in conformity with
generally accepted accounting principles requires management to

" make estimates and assumptions that affect the reported arnounts

of assets and Jiabilities and disclosure of contingent assets and
liabilities at the date of the financial statements and the reported
amounts of revenues and expenses during the reporting period.
Actus! resulis could differ from those estimates.

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E. S. Bankest

Summary of Significant Accountings

  

Reporting Statement of Financial Accounting Standards (SFAS) No. i30,
Comprehensive “Reporting Comprehensive Income,” establishes standards for
Income reporting and display of comprehensive income, its components

and accumulated balances. Camprehensive income is defined to
include all changes in equity except those resulting from
investments by owners and distributions to owners, Among other
disclosures, SFAS No. 130 requires that all items that are required
to be recognized under current accounting standards as
camponents of comprehensive income be reported in a financial
statement thet is displayed with the same prominence ay other
financial statements. At December 31, 1998, SFAS No. 130 had
no material impact on the Company’s financial statements.

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Promissory
Notes

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Notes to Financlai Sta

Factored Accounts Receivable-Backed Promissory Notes (the
Notes), were issued through private placements resulting in
proceeds to the Company of $39,275,000 in 1998. Of these
proceeds, $34,350,000 are outstanding at December 31, 1998. The
Notes are collateralized by (i) accounts receivable owned by the
Company (ii) an assignment of the proceeds of a credit insurance
policy (iii) reserve balances in the factoring accounts (iv) unused
note proceeds and (v) cash and cash equivalents.

The Series A Notes ($18,050,000 at December 31, 1998) accrue
interest based on the six month London Inter-Bank Offered Rate
plus 1.5% (6.65% at December 31, 1998) and mature through July
1, 1999.

The Series B Notes ($16,300,000 at December 3}, 1998) accrie
interest based on the twelve month London Inter-Bank Offered
Rate plus 1.75% (6.90% at December 31, 1998) and through
December 30, 1999.

Under the terms of the Promissory Notes agreement, the Company
is obligated to comply with certsin covenants. These covenants
provide that during any period during which there exists an
ovtstanding principal amount under the Notes, the outstanding
balance of Accounts Receivable and pledged to the Co)lateral
Agent and Lenders under the Security Agreement will be not less
than one hundred and twenty percent (120%) of the prncipal
amount of all Notes outstanding minus cash deposits and sequrities
pledged. At December 31, 1998, the Company was in compliance
with this covenant.

Depending on the Company's rate of growth, the Company may in
the future require proceeds from new debt, borrowings or sale of
the Company's securities to obtain additional capital. Although the
Company believes that it can raise ‘additional capital and have
profitable operations in the ensuing year, there can be no assurance
that the Company will be able to maintain profitability or obtain
additiona} capita) when needed.

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Line of Credit

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Transactions

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Notes to Financial Stains

In July 1998, the Company obtained a credit facility from Banco
Espirito Santo & Commercial de Lisboa which provides for a
demand revolving tine of credit with maximum borrowings of
$3,060,000. Outstanding amounts under this facility bear interest
equal to the six month LIBOR rate in effect on the first date of the
month in which a borrowing occurs plus 1.50% (6.65% at
December 31, 1998).

At December 31, 1998, no amounts were outstanding under this
facility. This credit facility expires in August 1999. Under the
terms of the Agreement, the Company is required to maintain:
credit insurance against any loss arising from the insolvency of any
party appearing as debtor in any receivable purchased by the
Company. Also the Company is required to maintain a ratio of
total liabilities to total tangible net worth not greater than 12:1.

At December 31, 1998, due to affiliates consist of the following:

 

Due to Bankest Capital Corp. $ = 1,822,642
Due to Bankest Receivables Finance and

Factoring Corp. 1,832,338
Total $ 3,654,980

 

The Company purchases accounts receivable, at face, principally
from BCC and BRFFC. Procecds from the notes are used by the
Company to finance additional purchases of accounts receivable
and to make advances under its factoring agreements.

The Company purchases accounts receivable with recourse, except
as to credit risk. The Company's accounts receivable are insured
against credit losses through credit insurance. During the period
coded December 31, 1998, BCC and BRFFC accepted the retum
by the Company of invoices, aggregating approximately
31,330,000, for which the Company did not wish to retain credit

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Income Taxes

Commitments

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Notes to Financial Ste

risk. No purchased accounts receivable are considered to be
impaired as of December 31, 1998.

The Company's indebtedness to BCC and BRFFC represents the
accrued purchase price of accounts receivable acquired. Such
amount is net of advances. The net obligation to BCC and JARFFC
is unsecured and due upon demand. Interest is charged on the
amounts outstanding for the purchase price of accounts recelyable
net of advances based on the base rate as published by Citibank
N.A. plus 3%.

The significant components of the provision for income taxes are
as follows:

 

 

 

Period ended December 31, 1998
Current:

State $ $6,000

Federal 344,000

$ 408,000

The principal difference between the provision for income taxes
computed at the statutory rate (34%) and the Company’s effective
tax rate is due to the Company's results of operations subgequent
to October 25,1998 being taxable directly to the stockholders as a
result of the merger into Lacroze, LLC,

The Company rents office space under non-cancelable leasey. The
minimum future rental commitment for leases in effect at
December 31, 1998, approximates the following:

 

Year ending December 31, Amount
1999 $ 314,500
2000 114,500
200) 97,500

 

$ 323,500

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 40 of 82

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Rent expense in 1998 aggregated approximately $56,000.

6 Year 2000 Issues Like other companies, E.S. Bankest L.L.C. could be adversely
(Unaudited) affected if the computer systems we, our suppliers or customers

use, do not properly process and calculate date-related information

and data from the period surrounding and including Janwary 1,

2000. This is commonly known as the “Year 2000" issue.

Additionally, this issue could impact non-computer systems and

devices such as production equipment, elevators, etc. At this time,

because of the complexities involved in the issuc, menagement

cannot provide assurances that the Year 2000 issue will not have

an impact on the company's operations.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 41 of 82

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Financial Statements

For the year ended December 31, 1999 and
for the period from March 18, 1998 (inception)
through December 31, 1998

 

BANK 0011305

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— === Plaintiffs’ Exh. No. 77 __.
Filed: January 16 A.D. 2007
Case No. 04-14009 CA 31

Harvey Ruvin, Clerk of Courts ES0975283

 
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 42 of 82

2 . BDO Seidman, LIP - NationsBank Tower at Intemational Place
an DO Accountants and Consultants 100S.E. 2nd Street, Suite 2200
Ta Miami, Florida 33131
Telephone: (305) 381-8000
Fane (305) 374-1135

independent Auditors’ Report

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Board of Directors
E.S. Bankest L.L.C.

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We have audited the accompanying balance sheets of E.S. Bankest L.L.C., as of December
31, 1999 and 1998, and the related statements of operations, members” equity and cash
flows for the year ended December 31, 1999 and for the period from March 18, 1998
(inception) through December 31, 1998. These financial Statements are the responsibility

of the Company's management. Our responsibility is to express an opinion on these
financial statements based on our audits.

We conducted our audits in accordance with generally accepted auditing standards. Those
standards require that we plan and perform the audit to obtain reasonable assurance about
whether the financial statements are free of material misstatement. An audit includes
examining, on a test basis, evidence supporting the amounts and disclosures in the
financial statements. An audit also includes assessing the accounting principles used and .
significant estimates made by management, as well as evaluating the overall financial

statement presentation. We believe that our audits provide a reasonable basis for our
opinion,

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In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of E.S. Bankest L.L.C. as of December 31, 1999 and 1998
and the results of its operations and its cash flows for the year ended December 31, 1999
and for the period from March 18, 1998 (inception) through December 31, 1998 ‘in
conformity with generally accepted accounting principles.

  

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BDO denen, LEP

Miami, Florida Certified Public Accountants
February 23, 2000

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 43 of 82

 

 

December 31, 1999 1998
Assets
Cash and cash equivalents (Note 1) S 3,391,682 $ 2,603,238

Accounts receivable, ($60,320,109, net of amount in 1999 due to
clients of $1,353,368) less allowance for doubtful accounts of
$143,000 and $83,000 (Notes 1 and 3) 58,688,290 40,638,879

Due from affiliates (Note 3) 155,428

Prepaid expenses

 

 

 

 

 

 

71,250 40,430
Debt issuance costs net of accumulated amortization of .
$560,487 and $117,667 74,826 | 177,333
Furniture and equipment, net of accumulated depreciation
of $10,941 and $1,220 15,932 23,174
Other assets , . 21,492 21,492
$ 62,418,900 $ 43,504,546
Liabilities
Promissory notes (Note 1) $ 51,550,000 $ 34,350,000
Due to affiliates (Note 3) , - 3,654,980
Accrued interest payable . 894,354 516,424
Accounts payable and accrued liabilities 30,381 34,284
Unearned factoring fees 779,779 389,791
Income tax payable 243,843 263,100
Total liabilities: 53,498,357 39,208,579
Members’ Equity
Initial capitalization 3,000,000 3,000,000
Retained carnings 5,920,543 1,295,967
Total members’ equity 8,920,543 4,295,967

S$ 62,418,900 $ 43,504,546
A ea a ae eee ace
See accompanying summary of accounting policies
and notes to financial statements.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 44 of 82

 

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Statements of Operal

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For. the year ended December 31, 1999 and for the period from

 

 

 

 

 

March 18, 1998 (inception) through December 31, 1998 1999 1998
Revenues:

Interest and fee income S$ 10,334,805 $ 4,147,147
Expenses:

Interest, 3,053,351 1,000,580

Genera] and administrative 2,044,284 1,116,018 -

Commissions (Note 3) 442,820 117,667

Professional fees 109,774 57,249

Provision for credit losses 60,000 159,666
Total expenses 5,710,229 2,451,180
Income before provision for income taxes ~ 4,624,576 1,695,967
Provision for income taxes (Note 4) - 400,000
Net income $ 4,624,576 $ 1,295,967

 

See accompanying summary of accounting policies and notes to Sinancial statements.

 

 

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Case 06-01220-AJC

Doc 230-2 Filed 09/16/08 Page 45 of 82

 

 

 

 

. Total
Initial Retained Members’

Capitalization Earnings Equity

Initial capitalization $ 3,000,000 $ - $ 3,000,000
Net income. - 1,295,967 1,295,967
Balance at December 31, 1998 3,000,000 1,295,967 4,295,967
Net income - 4,624,576 4,624,S76
Balance at December 31, 1999 $ 3,000,000 $ 5,920,543 $ 8,920,543

 

Ses occompanying summary of accounting policies and notes to financial statements.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 46 of 82

 

For the year ended December 31, 1999 and for the period from March 18, 1998

 

 

 

 

 

 

 

 

 

 

Ate oe wee

(inception) through December 31, 1998 1999 1998
Operating Activities: ’ ,
Net income $ 4,624,576 $ 1,29S,967
Adjustments to reconcile net income to net cash
provided by operating activities:
Depreciation 9,721 1,220
Provision for doubtful accounts 60,000 82,576
Amortization of debt issuance costs 442,820 117,667
Changes in operating assets and liabilities:
(Increase) decrease in:
Prepaid expenses (0,820) (40,430)
Other assets . - (23,492)
Increase (decrease) in:
Due to affiliates 3,810,408) 3,654,980
Accounts payable and accrued expenses @,903) 34,284
Unearned factoring fees 389,988 389,791
Income tax payable (19,257) 263,100
Net cash provided by operating activities 1,662, 717 5,777,663
Investing Activities: ,
Capital expenditures (2,479) (24,394)
Accounts receivable (18,109,411) (40,721,455)
Net cash used in investing activities (18,111,890) (40,745,849)
Financing Activities: ,
Proceeds from issuance of promissory notes 33,650,000 39,275,000
Repayment of promissory notes (16,450,000) (4,925,000)
Debt issuance costs (40,313) (295,000)
Accrued interest on promissory notes 377,930 516,424
Members’ contribution - 3,000,000
Net cash provided by financing activities 17,237,617 —-37,571424
Net increase in cash and cash equivalents ~ "798,44 °° 2,603,238
Cash and cash equivalents at beginning of period 2,603,238 :
Cash and cath equivalents at end of period $ 3,391,682 $ 2,603,238
Supplemental disclosure of cash flow information: Sees Ste ems
Cash paid during the period for interest $ 2,675,421 $ At, 156
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Ses accompanying summary of accounting policies and notes to financial statements.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 47 of 82

Organization

     
 

E. S. Bankesti

Summary of Significant Accounting

E. S. Bankest Corp. was organized on March 18, 1998 under the
laws of the State of Florida. The Company was established for the
Purpose of engaging in the operation of a non-regulated
commercial factoring business, principally by acquiring from
Bankest Capital Corp. (BCC) and Bankest Receivables Finance

and Factoring Corp. (BRFFC), a joint owner and wholly-owned .

subsidiary of BCC, respectively, a portion of accounts receivable
acquired by BCC and BRFFC pursuant to their factoring
businesses. .

As part of transactions incident to the formation of the Company,
the Company entered into an Accounts Receivable Purchase and
Tri-Party Agreement (the “AR Purchase Agreement”) with BCC
and BRFFC, pursuant to which the Company has agreed to

. Purchase certain assets from BCC and BRFFC. Those assets

include various accounts receivable acquired by BCC and BRFFC
pursuant to their factoring and finance business. The Company
also agreed to acquire certain Tights, and assume certain
obligations, under various factoring agreements presently existing
between BCC and/or BRFFC and their respective clients. The

  

Company used the proceeds derived from the issuance of .

Promissory Notes to finance the purchase of the foregoing assets
and to fund the purchase of additional Insured Accounts
Receivable and to make advances in the operation of its
commercial factoring business,

‘On October 26, 1998, the Company's stockholders agreed to

merge the Company with and into Lacroze, LLC (a Florida
Limited Liability Company) the surviving company change its
name to E.S. Bankest LLC (Florida Limited Liability Company).
This surviving entity succeeded to all of the rights, privileges,
immunities and franchises and all of the property of E.S. Bankest
Corp. and is responsible and liable for all of E.S. Bankest Corp.
liabilities and obligations.

The merger was accounted for in a manner similar to a pooling of
interest since both companies are under common control. The
common stock of E.S. Bankest Corp. were converted into units of
E.S. Bankest L.L.C.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 48 of 82

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The accompanying financial statements include the results of
operations since the March 18, 1998 formation of E.S. Bankest

Corp.
Accounts Accounts receivable purchased from BCC and BRFFC have
Receivable principally been originated by small to medium sized companies in

Purchased and the South Florida geographic area. The Company generally
Concentration of withholds payment on a specified percentage of the purchased
Credit Risk receivables and obtains credit insurance to reduce its credit risk. If
‘third parties fail to honor their obligations under the purchased
receivable, the Company's loss is reduced by any withheld
' payments and credit insurance. The Company performs ongoing

credit evaluations of its significant customers,

Among the accounts receivable purchased from BCC are those
originated by BCC’s major client, a manufacturer of consumer
goods, At December 31, 1999 and 1998, approximately 62% and
59% of the receivables purchased were concentrated with that one
(manufacturing company). Although the Company is directly
affected by the well being of this client, management does not
believe significant credit risk exists at December 31, 1999 and
1998 as. the collectibility of the receivables is insured against
insolvency and the receivables are substantially due from large
corporations. Should the Company, not be able to acquire
receivables from this major client, for any reason, there may be
materially adverse effects on the Company's operations.

The allowance for credit losses is maintained at a level deemed
adequate by management to absorb losses in the portfolio after
evaluating the portfolio, current economic conditions, insurance
coverage, changes in the nature and the volume of the portfolio,
past loss experience and other pertinent factors. Many of these
factors involve a significant degree of estimation and are subject to
rapid change which may be unforeseen by management. It is
reasonably possible that changes in these factors could result in
material adjustments to the allowance in the near term. During the

_ year ended December 31, 1999 and for the period ended December
31, 1998, the Company had no significant charge-offs.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 49 of 82

Cash and Cash
Equivalents

Income
Recognition

Farniture and
Equipment

Income Taxes

Use of Estimates
in the Preparation
of Financial
Statements

 

The Company considers investments with original maturities of
three months or less at the time of purchase to be cash equivalents.

At times, cash balances in the Company’s account may exceed
federally insured limits.

Interest income on advances and other amounts owed to the
Company is calculated using the simple interest method on the
daily balances of principal outstanding and is recorded as earned in
accordance with the terms of the related factoring agreements with
clients. Factoring fees are recognized over the period that the
Company renders the related services.

Furniture and equipment are recorded at cost. Depreciation is
calculated on the straight-line basis over the estimated useful lives
of the assets. (3-5 years).

Income taxes has been provided for in the accompanying financial
Statements for the period from March 18, 1998 (inception) through
October 25, 1998 during which the Company was a taxable entity.
Effective upon the October 26, 1998 merger into Lacroze, LLC,
the Company’s operations are taxable directly to the members and
accordingly, no provision for income taxes is included in the

accompanying financial statements for periods subsequent to
October 25, 1998.

The preparation of the financial statements in conformity with

generally accepted accounting principles requires management to
make estimates and assumptions that affect the reported amounts
of assets and liabilities and disclosure of contingent assets and
liabilities at the date of the financial statements and the reported

amounts of revenues and expenses during the reporting period.
Actual results could differ from those estimates.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 50 of 82

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Promissory Factored Accounts Receivable-Backed Promissory Notes (the

Notes Notes), were issued through private placements resulting in
proceeds to the Company of $33,650,000 and $39,275,000 in 1999
and 1998, respectively. Of these proceeds, $51,550,000 and
$34,350,000 are outstanding at December 3], 1999 and 1998,
respectively. The Notes are collateralized by (i) accounts
receivable owned by the Company (ii) an assignment of the
proceeds of a credit insurance policy (iii) reserve balances in the
factoring accounts (iv) unused note proceeds and (v) cash and cash
equivalents, .

The Series A Notes ($25,150,000 and $18,050,000 at December
31, 1999 and 1998) accrue interest based on the six month London
Inter-Bank Offered Rate plus 1.5% (7.83% and 6.65% at
December 31, 1999 and 1998) and mature through June 26, 2000.

The Series B Notes ($26,400,000 and $16,300,000 at December
31, 1999 and 1998) accrue interest based on the twelve month
London Inter-Bank Offered Rate plus 1.75% (8.51% and 6.90% at

December 31, 1999 and 1998) and mature through December 29, -
2000.
Under the terms of the Promissory Notes agreement, the Company
is obligated to comply with certain covenants. These covenants
provide that during any period during which there exists an
outstanding principal amount under the Notes, the outstanding
balance of Accounts Receivable and pledged to the Collateral
Agent and Lenders under the Security Agreement will be not less
than 120% of the principal amount of all Notes outstanding minus
cash deposits and securities pledged. At December 31, 1999, the
Company was in compliance with this covenant.

Depending on the Company's rate of growth, the Company may in
the future require proceeds from new debt, borrowings or sale of
the Company's securities to obtain additional capital. Although the
Company believes that it can raise additional capital and have
profitable operations in the ensuing year, there can be no assurance
that the Company will be able to maintain profitability or obtain
additional capital when needed.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 51 of 82

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2. Line of Credit At December 31, 1999, the Company has a credit facility from
Banco Espirito Santo & Commercial de Lisboa, which provides for
a demand revolving line of credit with maximum borrowings of
$3,000,000. Outstanding amounts under this facility bear interest
equal to the six month LIBOR rate in effect on the first date of the
month in which a borrowing occurs plus 1.50% (7.83% at
December 31, 1999), ,

 

At December 31, 1999, no amounts were outstanding under this
facility. This credit facility expires in October 2000. Under the
terms of the Agreement, the Company is required to maintain
credit insurance against any loss arising from the insolvency of any
party appearing as debtor in any receivable purchased by the
Company. Also the Company is required to maintain a ratio of
total liabilities to total tangible net worth not greater than 12:1. At
December 31, 1999, the Company was in compliance with this

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covenant.
3. Related Party At December 31, 1999 and 1998, due from (due to) affiliates
Transactions consist of the following: .

1999 1998
Dus from (due to) Bankest Capital Corp. § 155,428 $ (1,822,642)

Due from (due to) Bankest Receivables
Finance and Fectoring Corp. : > (1,832,338)

wae ER hy Oren easel

Net - $ 155,428 $ (3,654,980)

The Company purchases accounts receivable, at face, principally
from BCC and BRFFC. Proceeds from the notes are used by the
Company to finance additional purchases of accounts receivable
and to make advances under its factoring agreements.

The Company purchases accounts receivable with recourse, except ,
as to credit risk. The Company’s accounts receivable are insured
against credit losses pursuant to its Credit Insurance Policy with

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 52 of 82

 

Euler American Credit Indemnity Company. During the year

ended December 31, 1999 and during the period ended December

31, 1998, BCC and BRFFC accepted the return by the Company of

invoices, aggregating approximately $1,075,800 and $1,330,000,
respectively, for which the Company did not wish to retain non- . }
credit, related repayment or collection risk. No purchased

accounts receivable are considered to be impaired as of December

31, 1999 and 1998.

The Company's indebtedness to BCC and BRFFC represents the
accrued purchase price of accounts receivable acquired. Such
amount is net of advances. The net obligation to BCC and BRFFC
is unsecured and due upon demand. Interest is charged on the
amounts outstanding for the purchase price of accounts receivable
net of advances based on the base rate as published by Citibank
N.A. plus 3%,

In addition, approximately $39 million of the promissory notes are
payable to an entity, in which a senior executive is a member of
the Company’s Board of Directors.

The Company is required to pay 1% commission of the principal
amount for the promissory notes placed by one of the Company’s
members. At December 31, 1999 and 1998 commission expense
amounted to $442,820 and $117,667.

 

 

 

4. Income Taxes | The significant components of the provision for income taxes are
as follows:
1999 1998
: Current: .
State $ ~ §$ 56,000
Federal - 344,000
$ - $ 400,000

 

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 53 of 82

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Notes to Financial suites

 
 

The principal difference between the provision for income taxes _
computed at the statutory rate (34%) and the Company’s effective
tax rate is due to the Company’s results of operations subsequent
to October 25,1999 being taxable directly to the stockholders as a
result of the merger into Lacroze, LLC.

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Effective upon the October 26, 1998 merger into Lacroze, LLC,
the Company’s operations are taxable directly to the members and
accordingly, no provision for income taxes is included in the
accompanying financial statements for periods subsequent to
October 25, 1998.

5. Commitments The Company rents office space under non-cancelable leases. The
minimum future rental commitment for leases in effect at
December 31, 1999, approximates the following:

a.

 

 

 

Year ending ; December 31, . Amount
2000 "$145,000
2001 97,000

$ 212,000

Rent expense in 1999 and 1998 aggregated approximately
$119,000 and $56,000, respectively.

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 54 of 82

 

    

Financial Statements
For the years ended December 31, 2008 and 1999

Plaintiffs' Exh. No. 78

Filed: January 16 A.D. 2007
Case No. 04-14009 CA 31
Harvey Ruvin, Clerk of Courts

, USREC-23-1389
GOVERNMENT
EXHIBIT

    
 
 

CASE iE
NO, 03-20951-CR-AJ(S] I ES-Q-025888

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BDO Seidman, LLP
Cooperation... Collaboration... Concentration... Communication Accountants and Consultants

 

 
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 55 of 82

 

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| Statements

For the years ended December 31, 2000 and 1999

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USREC-23-1399

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 56 of 82

BDO Seldman, LLP International Place
Accountants and Consultants 100 S.E. 2nd Street, Suite 2200
® Miami, Florida 33131-2105

Telephone: (305) 381-8000
Fax: (305) 374-1135

Independent Auditors’ Report

Board of Directors
E.S. Bankest L.L.C.

We have audited the accompanying balance sheets of E.S. Bankest L.L.C., as of December
31, 2000 and 1999, and the related statements of operations, members’ equity and cash
flows for the years ended December 31, 2000 and 1999. These financial statements are the
responsibility of the Company's management. Our responsibility is to express an opinion
on these financial statements based on our audits.

We conducted our audits in accordance with auditing standards generally accepted in the
United States of America. Those standards require that we plan and perform the audit to
obtain reasonable assurance about whether the financial statements are free of material
misstatement. An audit includes examining, on a test basis, evidence supporting the
amounts and disclosures in the financial statements. An audit also includes assessing the
accounting principles used and significant estimates made by management, as well as
evaluating the overall financial statement presentation. We believe that our audits provide
a reasonable basis for our opinion.

In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of E.S. Bankest L-L.C. as of December 31, 2000 and 1999
and the results of its operations and its cash flows for the years ended December 31, 2000
and 1999 in conformity with accounting principles generally accepted in the United States

of America.

Bro Lads, oP
Miami, Florida Certified Public Accountants
February 16, 2001

USREC-23-1391

 

Cooperation, Collaboration, Concentration, Communication 2
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 57 of 82

 

USREC-23-1392

 

 

 

 

 

 

 

December 31, 2000 1999
Assets

Cash and cash equivalents (Note 2) $ 1,742,845 $ 3,391,682
Accounts receivable ($119,809,895 net of amount in 2000 due to

clients of $16,166,296) less allowance for doubtful accounts

$477,686 and $60,320,109 net of amount in 1999 due to clients

of $1,489,264 less allowance for doubtful accounts of $142,555)

(Notes 1 and 3) 103,165,913 58,688,290
Due from affiliates (Note 3) 2,599,425 155,428
Prepaid expenses 109,375 71,250
Debt issuance costs net of accumulated amortization of , ,

$397,789 and $285,612 in 2000 and 1999, respectively 146,176 74,826
Furniture and equipment, net of accumulated depreciation

of $17,356 and $10,941 10,369 15,932
Other assets 48,744 21,492

aoe S$ 107,822,847 $ 62,418,900
Liabilities
Promissory notes (Note 2) $ 87,050,000 $ 51,550,000
Line of credit (Note 3) 1,000,000 -
Accrued interest payable 1,696,613 894,354
Accounts payable and accrued liabilities 97,285 30,381
Unearned factoring fees 1,770,338 779,779
Income tax payable 243,843 243,843
Total liabilities 91,858,079 53,498,357
Members’ Equity

Initial capitalization 3,000,000 3,000,000

Retained earnings 12,964,768 5,920,543
Total members’ equity 15,964,768 8,920,543

$ 107,822,847 $ 62,418,900

 

See accompanying summary of accounting policies

ES-Q-025890

and notes to financial statements,

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 58 of 82

 

 

 

 

 

For the years ended December 31, 2000 1999
Revenues:
Interest and fee income $ 16,356,060 $ 10,334,805
Expenses:
Interest 5,368,517 3,053,351
General and administrative 2,736,393 2,044,284
Commissions (Note 3) 627,715 442.820
Professional fees 189,203 109,774
Provision for credit losses 390,003 60,000
Total expenses 9,311,835 5,710,229
Net income $ 7,044,225 $ 4,624,576

 

See accompanying summary of accounting policies and notes to financial statements.

USREC-23-1393

ES-Q-025891
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 59 of 82

 

 

 

 

Total

Initial Retained Members’

Capitalization Earnings Equity

Balance at December 31, 1998 $ 3,000,000 $ 1,295,967 $ 4,295,967
Net income - 4,624,576 4,624,576
Balance at December 31, 1999 3,000,006 $,920,543 8,920,543
Net income - 7,044,225 7,044,225
Balance at December 31, 2000 $ 3,000,000 $ 12,964,768 $ 15,964,768

 

See accompanying summary of accounting policies and notes to financial statements.

USREC-23-1394

ES-Q-025892
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 60 of 82

E. S. Bankes

  
 

Statements of Ca

USREC-23-1395

 

For the years ended December 31, 2000 1999
Operating Activities:
Net income $ 7,044,225 $ 4,624,576

Adjustments to reconcile net income to net cash
provided by operating activities:

 

 

 

 

 

 

 

Depreciation 6,415 9,721
Provision for doubtful accounts 390,003 60,000
. Amortization of debt issuance costs 112,177 442,820
Changes in operating assets and liabilities:
(Increase) in:
Due from affiliates (2,443,997) (3,810,408)
Prepaid expenses (38,125) (30,820)
Other assets (27,252) -
Increase (decrease) in:
Accounts payable and accrued expenses 66,904 G,903)
Accrued interest on promissory notes 802,259 377,930
Unearned factoring fees 990,559 389,988
Income tax payable - (19,257)
Net cash provided by operating activities 6,903,168 2,040,647
Investing Activities:
Accounts receivable (44,812,673) (18,109,411)
Capital expenditures (852) (2,479)
Net cash used in investing activities (44,813,525) (18,111,890)
Financing Activities:
Proceeds from issuance of promissory notes 54,350,000 33,650,000
Repayment of promissory notes (18,850,000) (16,450,000)
Net proceeds from line of credit 1,000,000 -
Debt issuance costs (238,480) (340,313)
Net cash provided by financing activities 36,261,520 16,859,687
Net (decrease) increase in cash and cash equivalents (1,648,837) 788,444
Cash and cash equivalents at beginning of period 3,391,682 2,603,238
Cash and cash equivalents at end of period $ 1,742,845 $ 3,391,682

 

Supplemental disclosure of cash flow information:
Cash paid during the period for interest $ 4,566,260 $ 2,675,421

See accompanying summary of accounting policies and notes to financial statements.

ES-Q-025893
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 61 of 82

 

USREC-23-1396
Organization E. 8. Bankest Corp. was organized on March 18, 1998 under the
laws of the State of Florida. The Company was established for the
purpose of engaging in the operation of a non-regulated
commercial factoring business, principally by acquiring from
Bankest Capital Corp. (BCC) and Bankest Receivables Finance
and Factoring Corp. (BRFFC), a joint owner and wholly-owned
subsidiary of BCC, respectively, a portion of accounts receivable

acquired by BCC and BRFFC pursuant to their factoring
businesses.

As part of transactions incident to the formation of the Company,
the Company entered into an Accounts Receivable Purchase and
Tri-Party Agreement (the “AR Purchase Agreement”) with BCC
and BRFFC, pursuant to which the Company has agreed to
purchase certain assets from BCC and BRFFC. Those assets
include various accounts receivable acquired by BCC and BRFFC
pursuant to their factoring and finance business. The Company
also agreed to acquire certain rights, and assume certain
obligations, under various factoring agreements presently existing
between BCC and/or BRFFC and their respective clients. The
Company used the proceeds derived from the issuance of
Promissory Notes to finance the purchase of the foregoing assets
and to fund the purchase of additional Insured Accounts
Receivable and to make advances in the operation of its
commercial factoring business.

On October 26, 1998, the Company’s stockholders agreed to
merge the Company with and into Lacroze, LLC (a Florida
Limited Liability Company) the surviving company change its
name to E.S. Bankest LLC (Florida Limited Liability Company).
This surviving entity succeeded to all of the ‘tights, privileges, '

_ immunities and franchises and all of the property of E.S. Bankest
Corp. and is responsible and liable for all of E.S. Bankest Corp.
liabilities and obligations.

ES-Q-025894
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 62 of 82

E. S. Bankest

 

ae USREC-23-1397

Accounts Accounts receivable purchased from BCC and BRFFC have
Receivable principally been originated by small to medium sized companies in
Purchased and the South Florida geographic area. The Company generally
Concentration of withholds payment on a specified percentage of the purchased
Credit Risk receivables and obtains credit insurance to reduce its credit risk. If

third parties fail to honor their obligations under the purchased
receivable, the Company's loss is reduced by any withheld
payments and credit insurance. The Company performs ongoing
credit evaluations of its significant customers.

Among the accounts receivable purchased from BCC are those
originated by BCC’s major client, a manufacturer of consumer
goods. At December 31, 2000 and 1999, this major client's
concentration approximated 42% and 62% of the receivables
purchased. Although the Company is directly affected by the well
being of this client, management does not believe significant credit
risk exists at December 31, 2000 and 1999 as the collectibility of
the receivables is insured against insolvency and the receivables
are substantially due from large corporations. Should the
Company, not be able to acquire receivables from this major client,
for any reason, there may be materially adverse effects on the
Company's operations.

The Company purchases accounts receivable with recourse, except
as to credit risk. The Company’s accounts receivable are insured
against credit losses pursuant to its Credit Insurance Policy with
Euler American Credit Indemnity Company. Insurance coverage
aggregated $125 million as of December 31, 2000. The policy
expires on March 31, 2001.

At December 31, 2000, approximately $2 million of accounts
receivable were not subject to coverage by ACI. These receivables
were accepted by the Company under client agreements that grant
the Company full recourse in the event a receivable is not
collectible. The Company does not make advances on these
receivables to clients.

ES-Q-025895
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 63 of 82

  

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The allowance for credit losses is maintained at a leve] deemed
adequate by management to absorb losses in the portfolio after
evaluating the portfolio, current economic conditions, insurance
coverage, changes in the nature and the volume of the portfolio,
past loss experience and other pertinent factors. Many of these
factors involve a significant degree of estimation and are subject to
rapid change which may be unforeseen by management. It is
reasonably possible that changes in these factors could result in
material adjustments to the allowance in the near term. During the
years ended December 31,-2000 and 1999, the Company had no

significant charge-offs.
Cash and Cash The Company considers investments with original maturities of
Equivalents _ three months or less at the time of purchase to be cash equivalents.

At times, cash balances in the Company’s account may exceed
federally insured limits.

Income Interest income on advances and other amounts owed to the

Recognition Company is calculated using the simple interest method on the
daily balances of principal outstanding and is recorded as earned in
accordance with the terms of the related factoring agreements with
clients. Factoring fees are recognized over the period that the
Company renders the related services.

Furniture and Furniture and equipment are recorded at cost. Depreciation is
Equipment calculated on the straight-line basis over the estimated useful lives
of the assets. (3-5 years).

Income Taxes Effective upon the October 26, 1998 merger into Lacroze, LLC,
the Company’s operations are taxable directly to the members and
accordingly, no provision for income taxes is included in the
accompanying financial statements for periods subsequent to
‘October 25, 1998.

ES-Q-025896
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 64 of 82

Use of Estimates
in the Preparation
of Financial
Statements

 

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Summary of Significant Accounting:

The preparation of the financial statements in conformity with
generally accepted accounting principles requires management to
make estimates and assumptions that affect the reported amounts
of assets and liabilities and disclosure of contingent assets and
liabilities at the date of the financial statements and the reported
amounts of revenues and expenses during the reporting period.
Actual results could differ from those estimates.

USREC-23-1399

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 65 of 82

 

 

 

 

 

USREC-23-14090
1. Accounts Accounts receivable consists of the following:

Receivable

2000 1999

Accounts receivable $ 119,809,895 $ 60,320,109

Allowance (477,686) (142,555)

. 119,332,209 60,177,554

Due to clients (16,166,296) (1,489,264)

Net accounts receivable $ 103,165,913 $ $8,688,290

2. Promissory Factored Accounts Receivable-Backed Promissory Notes (the

Notes Notes), were issued through private placements resulting in

proceeds to the Company of $54,350,000 and $33,650,000 in 2000
and 1999, respectively. The Notes are collateralized by (i)
accounts receivable owned by the Company (ii) an assignment of
the proceeds of a credit insurance policy (iii) reserve balances in
the factoring accounts (iv) cash and cash equivalents.

The Series A Notes ($45,850,000 and $25,150,000 at December
31, 2000 and 1999) accrue interest based on the six month London
Inter-Bank Offered Rate plus 1.5% (7.62% and 7.83% at
December 31, 2000 and 1999) and mature through July 2, 2001.

The Series B Notes ($41,200,000 and $26,400,000 at December
31, 2000 and 1999) accrue interest based on the twelve month
London Inter-Bank Offered Rate plus 1.75% (7.64% and 8.51% at
December 31, 2000 and 1999) and mature through December 31,
2001.

Under the terms of the Notes, the Company is obligated to comply

with certain covenants. These covenants provide that during any

period during which there exists an outstanding principal amount

feet under the Notes, the outstanding balance of accounts receivable
seat" "~~ and pledged to the collateral agent and lenders under the security
agreement will be not less than 120% of the principal amount of all

ES-Q-025898 11
 

Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 66 of 82

   
  

E. S. Bankestl

Notes to Financial Stal

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Notes outstanding minus cash deposits and securities pledged. At
December 31, 2000, the Company was in n compliance with this
covenant.

Depending on the Company's rate of growth, the Company may in
the future require proceeds from new debt, borrowings or sale of
the Company's securities to obtain additional capital. Although the
Company believes that it can raise additional capital and have
profitable operations in the ensuing year, there can be no assurance
that the Company will be able to maintain profitability or obtain

additional capital when needed.
3. Related Party At December 31, 2000, the Company has a credit facility from
Transactions Banco Espirito Santo & Commercial de Lisboa, which provides for

a demand revolving line of credit with maximum borrowings of
$3,000,000. Outstanding amounts under this facility bear interest
equal to the six month LIBOR rate in effect on the first date of the
month in which a borrowing occurs plus 1.50% (7.62% at
December 31, 2000).

At December 31, 2000, $1,000,000 was outstanding under this
facility. Under the terms of the agreement, the Company is
required to maintain credit insurance against any loss arising from
the insolvency of any party appearing as debtor in any receivable
purchased by the Company. Also the Company is required to
maintain a ratio of total liabilities to total tangible net worth not
greater than 12:1. At December 31, 2000, the Company was in
compliance with these covenants.

At December 31, 2000 and 1999, $2,599,425 and $155,428 was
substantially due from Bankest Capital Corp. for cash received by
Bankest Capital Corp. relating to receivables held by the
Company.

The Company purchases accounts receivable, at face, principally
from BCC. Proceeds from the notes are used by the Company to
finance additional purchases of accounts receivable and to make
advances under its factoring agreements. No purchased accounts
receivable are considered to be impaired as of December 31, 2000

and 1999.
ES-Q-025899 .
 

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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 67 of 82

Commitments

Fair Value of
Financial
Instruments

 

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In addition, approximately $48 million of the promissory notes are
payable to an entity, in which a senior executive is a member of
the Company’s Board of Directors.

The Company is required to pay 1% commission of the principal
amount for the promissory notes placed by one of the Company’s
members. At December 31, 2000 and 1999 commission expense
amounted to $627,719 and $442,820.

An officer of the Company is a member at the board of managers
of a limited liability company, from which the Company has
purchased $3.2 million in accounts receivable.

The Company rents office space under non-cancelable leases
expiring October 31, 2001. The minimum future rental
commitment for leases in effect at December 31, 2000,
approximates the following:

 

 

Years ending December 31, Amount
2001 $ 97,500
$ 97,500

 

Rent expense in 2000 and 1999 aggregated approximately
$131,000 and $119,000, respectively. Upon expiration of the
lease, the Company intends to continue to lease its premises on a
month-to-month basis until such time as its new long-term
leasehold space is available. —

Disclosure of fair value of financial instruments is required by
SFAS No. 107, "Disclosures About Fair Value of Financial
Instruments." The Company's financial instruments consist
principally of cash and cash equivalents, accounts receivable and
promissory notes payable. The carrying amounts of such financial:
instruments as reflected in the balance sheet approximate their
estimated fair value as of December 31, 2000. The estimated fair —
value is not necessarily indicative of the amounts the Company
could realize in a current market exchange.

ES-Q-025900 13
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 68 of 82

 

E. S. Bankest L.L.C.

Financial Statements
For the years ended December 31, 2001 and 20606

Plaintiffs’ Exh. No. 81

Filed: January 16 A.D. 2007
Case No. 04-14009 CA 31
Harvey Ruvin, Clerk of Courts

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GOVERNMENT USREC.23.4285
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Coope llaboration... Concentration... Communication Accountants and Consultants

 

 

 

 

 

 
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 69 of 82

 

 

Financial Statements
For the years ended December 31, 2001 and 2000

USREC-23-1286

ES-Q-025785
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 70 of 82

. BDO Seidman, LLP international Place
Accountants and Consultants 100 S.E. and Street, Suite 2200
P caemeemen’ Miami, Florida 33131-2105

Telephone: (305) 381-8000
Fax: (305) 374-1135

independent Auditors’ Report

Board of Directors
E.S. Bankest L.L.C.

We have audited the accompanying balance sheets of E.S. Bankest L.L.C., as of December
31, 2001 and 2000, and the related statements of operations, members’ equity and cash
flows for the years ended December 31, 2001 and 2000. These financial statements are the
responsibility of the Company's management. Our responsibility is to express an opinion
on these financial statements based on our audits.

We conducted our audits in accordance with auditing standards generally accepted in the ~
United States of America. Those standards require that we plan and perform the audit to
obtain reasonable assurance about whether the financial statements are free of material
misstatement. An audit includes examining, on a test basis, evidence supporting the
amounts and disclosures in the financial statements. An audit also includes assessing the
accounting principles used and significant estimates made by management, as well as
evaluating the overall financial statement presentation. We believe that our audits provide
a reasonable basis for our opinion.

In our opinion, the financial statements referred to above present fairly, in all material
respects, the financial position of E.S. Bankest L.L.C. as of December 31, 2001 and 2000
and the results of its operations and its cash flows for the years ended December 31, 2001
and 2000 in conformity with accounting principles generally accepted in the United States

of America. .
Miami, Florida Certified Public Accountants
February 8, 2002
USREC-23-1287
gS-0-025786

 

Cooperation, Collaboration, Concentration, Communication
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 71 of 82

E. S. Bankest L.1..6,

 

 

December 31, 2001 2000
Assets
Cash and cash equivalents (Note 2) § 873,781 $ 1,742,845
Accounts receivable ($178,103,308 in 2001 net of amount due to

clients of $21,051,658 less allowance for doubtful accounts of

$3,442,319 and $119,809,895 in 2000 net of amount due to

clients of $16,166,296 less allowance for doubtful accounts of

$477,686) 153,609,331 103,165,913

(Notes 1, 2 and 3)
Due from affiliates (Note 3) 8,001,069 2,599,425
Prepaid expenses 137,500 109,375
Debt issuance costs net of accumulated amortization of

$601,041 and $397,789 in 2001 and 2000, respectively 325,489 146,176
Furniture and equipment, net of accumulated depreciation

of $21,504 and $17,326 in 2001 and 2000, respectively 6,221 10,369
Other assets 49,545 48,744

 

$ 163,002,936

$ 107,822,847

 

 

 

Liabilities
Promissory notes (Note 2) $ 137,501,917 $ 87,050,000
Line of credit (Note 3) 3,000,000 1,000,000
Accrued interest payable 1,859,239 1,696,613
Accounts payable and accmed liabilities 103,870 97,285
Unearned factoring fees 1,393,158 1,770,338
Income tax payable 243,843 243,843
Total liabilities 144,102,027 91,858,079
Commitments and Contingencies (Notes 1 and 4)
Members’ Equity
Initial capitalization 3,000,000 3,000,000
Retained earnings 15,900,909 12,964,768
Total members’ equity 18,900,909 15,964,768

 

$ 163,002,936

$ 107,822,847

See accompanying summary of accounting policies and notes to financial statements,

USREC-23.1288

ES-Q-025787
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 72 of 82

 

E. S. Bankest L.L.&.

Statements of Operations

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For the years ended December 31, 2001 2000
Revenues:
Interest and fee income $ 22,571,675 $ 16,356,060
Expenses:
Interest 7,878,609 5,368,517
General and administrative 3,356,419 2,736,393
Commissions (Note 3) 1,045,794 627,719
Professional fees 304,708 189,203
Provision for credit losses 3,050,004 390,003
Total expenses 15,635,534 9,311,835
Net income $ 6,936,141 3 7,044,225

 

See accompanying summary of accounting policies and notes to financial statements.

USREC-23-1289

ES-Q-025788
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 73 of 82

 

E. S. Bankest LAS.

Statements of Members’ Equity

 

Total
Initial Retained Members’
Capitalization Earnings Equity

 

Balance at December 31, 1999

$ 3,000,000 $ 5,920,543 $ 8,920,543

 

Net income - 7,044,225 7,044,225
Balance at December 31, 2000 3,000,000 12,964,768 15,964,768
Distributions to members (4,000,000) (4,000,000)
Net income - 6,936,141 6,936,141

 

Balance at December 31, 2001

$ 3,000,000  $ 15,900,909 $ 18,900,909

See accompanying summary of accounting policies and notes to financial statements.

USREC-23-1290

ES-Q-025789 5
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 74 of 82

 

E. S. Bankest L.L.E.

Statements of Cash Flows

 

 

For the years ended December 31, 2001 2000
Operating Activities:
Net income $ 6,936,141 $ 7,044,225

Adjustments to reconcile net income to net cash
provided by operating activities;

 

 

 

 

 

 

 

Depreciation 4,178 6,415
Provision for doubtful accounts 3,050,004 390,003
Amortization of debt issuance costs 117,852 412,177
Changes in operating assets and liabilities:
(Increase) in:
Due from affiliates (5,401,644) (2,443,997)
Prepaid expenses (28,125) (38,125)
Other assets (801) (27,252)
Increase (decrease) in:
Accounts payable and accrued expenses 6,585 66,904
Accrued interest payable : 162,625 802,259
Unearned factoring fees (377,188) 990,559
Net cash provided by operating activities 4,469,635 6,903,168
Investing Activities:
Accounts receivable (53,408,051) (44,812,673)
Capital expenditures - (852)
Net cash used in investing activities (53,408,051) (44,813,525)
Financing Activities:
Proceeds from issuance of promissory notes 98,451,917 54,350,000
Repayment of promissory notes ; (48,000,000) (18,850,000)
Net proceeds from line of credit 2,000,000 1,000,000
Debt issuance costs (382,565) (238,480)
Distributions to members (4,000,000) .
Net cash provided by financing activities . 48,069,352 36,261,520
Net (decrease) in cash and cash equivalents (869,064) (1,648,837)
Cash and cash equivalents at beginning of period 1,742,845 3,391,682
Cash and cash equivalents at end of period $ 873,781 $ 1,742,845

 

Supplemental disclosure of cash flow information:
Cash paid during the period for interest § 7,715,983 _$ 4,566,260

See accompanying summary of accounting policies and notes to financial statements,

USREC-23-1291 ES-Q-025790 6
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 75 of 82

Organization

E. S. Bankest L.L.C.

Summary of Significant Accounting Paltcias

 

E. S. Bankest Corp. (“The Company”) was organized on March
18, 1998 under the laws of the State of Florida. The Company was
established for the purpose of engaging in the operation of a non-
regulated commercial factoring business, principally by acquiring
from Bankest Capital Corp. (BCC) and Bankest Receivables
Finance and Factoring Corp. (BRFFC), a joint owner and wholly-
owned subsidiary of BCC, respectively, a portion of accounts
receivable acquired by BCC and BREFC pursuant to their
factoring businesses.

As part of transactions incident to the formation of the Company,
the Company entered into an Accounts Receivable Purchase and
Tri-Party Agreement (the “AR Purchase Agreement”) with BCC
and BRFFC, pursuant to which the Company has agreed to
purchase certain assets from BCC and BRFFC. Those assets
include various accounts receivable acquired by BCC and BRFFC
pursuant to their factoring and finance business. The Company
also agreed to acquire certain rights, and assume certain
obligations, under various factoring agreements presently existing
between BCC and/or BRFFC and their respective clients. The
Company uses the proceeds derived from the issuance of
promissory notes to finance the purchase of the foregoing assets
and to fund the purchase of additional insured accounts receivable
and to make advances in the operation of its commercial factoring
business.

On October 26, 1998, the Company’s stockholders agreed to
merge the Company with and into Lacroze, LLC (a Florida
Limited Liability Company) the surviving company change its
name to E.S. Bankest LLC (Florida Limited Liability Company).
This surviving entity succeeded to all of the rights, privileges,
immunities and franchises and all of the property of E.S. Bankest
Corp. and is responsible and liable for all of E.S. Bankest Corp.
liabilities and obligations.

USREC-23-1292

5-0-0257
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 76 of 82

Accounts
Receivable
Purchased and
Concentration of
Credit Risk

Cash and Cash
Equivalents

Income
Recognition

E. S. Bankest L.L..

Summary of Significant Accounting Policies

 

Accounts receivable purchased principally originate from small to
medium sized companies in the South Florida geographic area.
The Company generally withholds payment on a_ specified
percentage of the purchased receivables and obtains credit
insurance to reduce its credit risk. If third parties fail to honor
their obligations under the purchased receivable, the Company's
loss is reduced by any withheld payments and credit insurance.
The Company performs ongoing credit evaluations of its
significant customers.

Among the accounts receivable purchased from BCC are those
originated by BCC’s major client, a manufacturer of consumer
goods. At December 31, 2001 and 2000, this major client's
concentration approximated 35% and 42% of the receivables
purchased (Note 1).

The Company purchases accounts receivable with recourse, except
as to credit nsk. The Company’s accounts receivable are insured
against credit losses pursuant to its Credit Insurance Policy with
Euler American Credit Indemnity Company. Insurance coverage
aggregated $125 million as of December 31, 2001. The policy
expires on March 31, 2002.

The allowance for credit losses is maintained at a level deemed
adequate by management to absorb losses in the portfolio after
evaluating the portfolio, current economic conditions, insurance
coverage, changes in the nature and the volume of the portfolio,
past loss experience and other pertinent factors. Many of these
factors involve a significant degree of estimation and are subject to
rapid change which may be unforeseen by management. It is
reasonably possible that changes in these factors could result in
material adjustments to the allowance in the near term.

The Company considers investments with original maturities of
three months or less at the time of purchase to be cash equivalents.
At times, cash balances in the Company’s account may exceed
federally insured limits.

Interest income on advances and other amounts owed to the
Company is calculated using the simple interest method on the |
daily balances of principal outstanding and is recorded as earned in
accordance with the terms of the related factoring agreements with
clients. Factoring fees are recognized over the period that the
Company renders the related services.

USREC-23-1293 ES-Q-025792
Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 77 of 82

  

Fornitare and
Equipment

Income Taxes

_ Use of Estimates

in the Preparation
of Financial
Statements

 

E. S. Bankest L.L.6.

Summary of Significant Accounting Policies

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Furniture and equipment are recorded at cost. Depreciation is
calculated on the straight-line basis over the estimated useful lives
of the assets. (3-5 years).

Effective upon the October 26, 1998 merger into Lacroze, LLC,
the Company’s operations are taxable directly to the members and
accordingly, no provision for income taxes is included in the
accompanying financial statements for periods subsequent to
October 25, 1998.

The preparation of the financial statements in conformity with
generally accepted accounting principles requires management to
make estimates and assumptions that affect the reported amounts
of assets and liabilities and disclosure of contingent assets and
liabilities at the date of the financial statements and the reported
amounts of revenues and expenses during the reporting period.
Actual results could differ from those estimates.

USREC-23-1294

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1.

Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 78 of 82

 

Accounts
Receivable

E. S. Bankest LL...

 

Notes to Financial Statements

oP oi it nn a

Accounts receivable consists of the following:

 

 

 

2001 2000
Accounts receivable $ 178,103,308 $ 119,809,895
Allowance . (3,442,319) (477,686)
174,660,989 119,332,209
Due to clients (21,051,658) (16,166,296)
Net accounts receivable $ 153,609,331 $ 103,165,913

 

At December 31, 2001 approximately $5.3 million of purchased
accounts receivable are due from K-Mart Corp. K-Mart Corp.
filed for bankruptcy protection under Chapter 11 subsequent to
December 31, 2001. Said $5.3 million of K-Mart Corp.’s accounts
receivable being insured against credit losses, including
bankruptcy.

One of the Company’s clients, United Container, LLP filed for
bankruptcy protection under Chapter 11 in December 2001. On
the advice of the Company’s bankruptcy counsel, the Company
sought and succeeded to convert the Chapter 11 to a Chapter 7. At
December 31, 2001 such purchased accounts receivables
aggregated approximately $17 million.

The Company is of the opinion that they own the purchased.
accounts receivable, and therefore have legally perfected the
security interest in such purchased accounts receivable due from
K-Mart and customers of United Container, LLP. Interest and fee
income attributable to the purchased receivables of K-Mart Corp.
and the customers of United Container, LLP aggregated
approximately $1,931,000 in 2001.

A purchased account receivable is considered impaired when,
based on current information and events, it is probable the
Company will be unable to collect the amounts due from account
debtors.

USREC-23-1295 ES-Q-025794 10

  
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Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 79 of 82

Promissory
Notes

E. S. Bankest LA.G

 

Notes to Financial Statements

 

As of December 31, 2001, the Company’s recorded investment in
purchased accounts receivable which were impaired amounted to
approximately $7.8 million. Said $7.8 million being comprised of
the aforementioned $5.3 million credit-insured accounts receivable
due from K-Mart Corp. and approximately $2.55 million of
accounts receivable due from customers of United Container, LLP.
Whereas the Company anticipates collections of $5.3 million K-
Mart Corp. accounts receivable from either K-Mart Corp. or the
credit insurer, EULER American Credit Indemnity Company, it
has effected an allowance for doubtful accounts aggregated
approximately $3.4 million. Said $3.4 million comprised of the
aforementioned $2.55 million accounts receivable due from
customers of United Container, LLP, $500,000 for the deductible
portion of the insured K-Mart Corp. account receivables and a
$350,000 general reserve for doubtful accounts. No purchased
accounts receivable were impaired at or during the year ended
December 31, 2000.

Activity in the allowance for losses was as follows:

 

 

Year ended December 31, 2001 2000
Balance, beginning $ 477,686 $ 142,555
Provision for doubtful accounts 3,050,004 390,003
Charge-offs, net (85,371) (54,872)
Balance, ending $ 3,442,319 $ 477,686

 

Factored Accounts Receivable-Backed Promissory Notes (the
Notes), were issued through private placements resulting in
proceeds to the Company of $98,451,917 and $54,350,000 in 2001
and 2000, respectively. The Notes are collateralized by (i)
accounts receivable owned by the Company (ii) an assignment of
the proceeds of a credit insurance policy (iit) reserve balances in
the factoring accounts (iv) cash and cash equivalents.

The Series A Notes ($77,550,000 and $45,850,000 at December
31, 2001 and 2000) accrue interest based on the six month London
Inter-Bank Offered Rate plus 1.5% (3.5% and 7.62% at December
31, 2001 and 2000) and mature through June 20, 2002.

14
USREC-23-129 ==: ES-Q-025795
 

3.

Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 80 of 82

Related Party
Transactions

Soba NTE

The Series B Notes ($59,950,000 and $41,200,000 at December
31, 2001 and 2000) accrue interest based on the twelve month
London Inter-Bank Offered Rate plus 1.75% (4.19% and 7.64% at
December 31, 2001 and 2000) and mature through December 19,
2002.

Under the terms of the Notes, the Company is obligated to comply
with certain covenants. These covenants provide that during any
period during which there exists an outstanding principal amount
under the Notes, the outstanding balance of accounts receivable
and pledged to the collateral agent and lenders under the security
agreement will be not less than 120% of the principal amount of all
Notes outstanding minus cash deposits and securities pledged. At
December 31, 2001, the Company was in compliance with this
covenant.

Depending on the Company's rate of growth, the Company may in
the future require proceeds from new debt, borrowings or sale of
the Company's securities to obtain additional capital. Although the
Company believes that it can raise additional capital and have
profitable operations in the ensuing year, there can be no assurance
that the Company will be able to maintain profitability or obtain
additional capital when needed.

At December 31, 2001, the Company has a credit facility from
Banco Espirito Santo & Commercial de Lisboa, which provides for
a demand revolving line of credit with maximum borrowings of
$3,000,000. Outstanding amounts under this facility bear interest
‘equal to the six month LIBOR rate in effect on the first date of the
month in which a borrowing occurs plus 1.50% (3.50% at
December 31, 2001). At December 31, 2001, $3,000,000 was
outstanding under this facility. Under the terms of the agreement,
the Company is required to maintain credit insurance against any
loss arising from the insolvency of any party appearing as debtor
in any receivable. purchased by the Company. Also, the Company
is required to maintain a ratio of total liabilities to total tangible net
worth not greater than 12:1. At December 31, 2001, the Company
was in compliance with these covenants.

USREC-23-1297 ES-Q-025796 12
 

4.

Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 81 of 82

Commitments

 

E. S. Bankest L.A..6.

Notes to Financial Statements

At December 31, 2001 and 2000, $8,001,069 and $2,599,425 and
at January 31, 2002 $4,0005,707 was due from Bankest Capital
Corp. for cash received by Bankest Capital Corp. relating to
receivables held by the Company.

Approximately $48 million of the promissory notes are payable to
an entity, in which a senior executive is a member of the
Company’s Board of Directors.

The Company is required to pay 1% commission of the principal
amount for the promissory notes placed by one of the Company’s
members. At December 31, 2001 and 2000 commission expense
amounted to $1,045,794 and $627,719, respectively.

An officer of the Company is a member of the board of managers
of a limited liability company, from which the Company has
purchased $3.2 million in accounts receivable in 2001.

The Company rents office space under non-cancelable leases
expiring October 31, 2002. The minimum future rental
commitment for leases in effect at December 31, 2001,
approximates the following:

 

 

Year ending December 31, Amount
2002 $ 120,500
$ 120,500

 

Rent expense in 2001 and 2000 aggregated approximately
$149,000 and $131,000, respectively. Upon expiration of the
lease, the Company intends to continue to lease its premises on a
month-to-month basis until such time as its new long-term
leasehold space is available.

USREC-23-1298

5-0-025797 18
 

 

5.

Case 06-01220-AJC Doc 230-2 Filed 09/16/08 Page 82 of 82

Fair Value of
Financial
Instruments

 

E. S. Bankest L.L,6.

Notes to Financial Statements

 

 

Disclosure of fair value of financial instruments is required by
SFAS No. 107, "Disclosures About Fair Value of Financial
Instruments." The Company's financial instruments consist
principally of cash and cash equivalents, accounts receivable and
promissory notes payable. The carrying amounts of such financial
instruments as reflected in the balance sheets approximate their
estimated fair value as of Decémber 31, 2001 and 2000.. The
estimated fair value is not necessarily indicative of the amounts the
Company could realize in a current market exchange.

USREC-23-1299

ES-Q-025798
44
